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               United States District Court
       -------------------------- DISTRICT OF KANSAS----------------------------

STATE OF KANSAS,
STATE OF ALABAMA,
STATE OF IDAHO,
STATE OF IOWA,
STATE OF LOUISIANA,
STATE OF MONTANA,
STATE OF NEBRASKA,
STATE OF UTAH,

              Plaintiffs,

v.                                                 Case No. 24-1057-DDC-ADM

JOSEPH R. BIDEN IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE
UNITED STATES,
MIGUEL CARDONA IN HIS OFFICIAL
CAPACITY AS SECRETARY OF
EDUCATION,
UNITED STATES DEPARTMENT
OF EDUCATION,

              Defendants.




                 FINAL JUDGMENT UNDER RULE 54(b)
☐      Jury Verdict. This action came before the Court for a jury trial. The issues have been
       tried and the jury has rendered its verdict.

☒      Decision by the Court. This action came before the Court. The issues have been
       considered and a decision has been rendered.

In accordance with the Order granting plaintiffs Alabama, Idaho, Iowa, Kansas,
Louisiana, Montana, Nebraska, and Utah’s “Motion for Judgment under FRCP 54(b)”
(Doc. 99), the following Final Judgment is entered.
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IT IS ORDERED THAT Doc. 68 is certified as final under Fed. R. Civ. P. 54(b).

IT IS FURTHER ORDERED THAT there is no just reason for delay of entry of final
judgment in favor of defendants United States Department of Education and Miguel
Cardona, in his official capacity as United States Secretary of Education, and against
plaintiffs Alabama, Idaho, Iowa, Kansas, Louisiana, Montana, Nebraska, and Utah
premised on the court’s holding that these eight plaintiffs lack standing as reflected in
Doc. 68.

IT IS SO ORDERED.



____02/13/2025                                   SKYLER B. O’HARA
    Date                                         CLERK OF THE DISTRICT COURT

                                                 by: __s/ Megan Garrett_____________
                                                        Deputy Clerk
